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                    IN THE UNITED STATES DISTRICT COURT

                  FOR THE SOUTHERN DISTRICT OF GEORGIA

                                AUGUSTA DIVISION


UNITED STATES OF AMERICA                   )
                                           )
       v.                                  )       CR 116-24
                                           )
JOHN WILLIAMS                              )

                                        ______

                                       ORDER
                                       ______


       The Court GRANTS Defendant John Williams' Motion to Modify and hereby

modifies its Order of April 13, 2016 (doc. no. 16) by removing the requirement that Mr.

Williams contribute $500 monthly for costs and fees of his defense. The Court does so in

reliance on Defendant's representation he is no longer employed. Defendant shall notify

the Court and complete a new affidavit within seven days of obtaining employment

       SO ORDERED this 3rd day of May, 2016, at Augusta, Georgia.
